986 F.2d 1412
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert W.L. BOZEMAN, Petitioner-Appellant,v.US PAROLE COMMISSION;  J. T. Hadden, Warden, Respondents-Appellees.
    No. 92-7145.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 23, 1993
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-92-74-HC-F)
      Robert W. L. Bozeman, Appellant Pro Se.
      G. Norman Acker, III, Office of the United States Attorney, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Robert W. L. Bozeman appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2241 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bozeman v. United States Parole Commission, No. CA-92-74HC-F (E.D.N.C. Sept. 30, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    